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            Declaration of Michelle Iorio
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               February 14, 2008
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            JAMES INGRAM – COSIGNER
  SIGNATURE LOAN PROMISSORY NOTE
                                                5081
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                             EXHIBIT B
   Signature Student Loan Application and
   Promissory Note Signed March 13, 2008
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           ELYSIA INGRAM – BORROWER
             JAMES INGRAM – COSIGNER
   SIGNATURE LOAN PROMISSORY NOTE
                                                 5099
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                            EXHIBIT C
Smart Option Student Loan Application and
  Promissory Note Signed May 27, 2009
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           ELYSIA INGRAM – BORROWER
             JAMES INGRAM – COSIGNER
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                  NOTE
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